

Braun v Cesareo (2019 NY Slip Op 01960)





Braun v Cesareo


2019 NY Slip Op 01960


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, CURRAN, AND WINSLOW, JJ.


937 CA 18-00003

[*1]TRAVIS M. BRAUN, PLAINTIFF-RESPONDENT,
vCHRISTOPHER J. CESAREO, MEDTRONIC, INC., AND MEDTRONIC USA, INC., DEFENDANTS-APPELLANTS. (APPEAL NO. 4.) 






GREENBERG TRAURIG LLP, NEW YORK CITY (NOAH A. LEVINE OF COUNSEL), AND WOODS OVIATT GILMAN LLP, ROCHESTER, FOR DEFENDANTS-APPELLANTS. 
FARACI LANGE, LLP, ROCHESTER (STEPHEN G. SCHWARZ OF COUNSEL), AND MICHAEL G. COOPER, HAMBURG, FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Catherine R. Nugent Panepinto, J.), entered March 20, 2017. The order, among other things, denied defendants' request for a collateral source offset. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: March 15, 2019
Mark W. Bennett
Clerk of the Court








